                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         *
                                                 *
       v.                                        *     CASE NO: 1:21-cr-0175-3 (TJK)
                                                 *
ZACHARY REHL,                                    *
         Defendant                               *


                                  ********
                ZACHARY REHL’S MOTION TO DISMISS INDICTMENT
                       ON FIRST AMENDMENT GROUNDS

       Mr. Rehl, through undersigned counsel, respectfully moves to dismiss the Third Superseding

Indictment (“Indictment”) on the grounds that the charges that have been filed against him are an

unconstitutional burden on free speech and associational rights in violation of the First Amendment.

       The Indictment violates the First Amendment because it rests solely on Mr. Rehl’s political

views and First-Amendment protected statements. The Indictment does not allege that Mr. Rehl

committed a single act that is criminal.1 He is not alleged to have injured or assaulted anyone or

battled law enforcement. He is not alleged to have destroyed any property or removed any police

barricades. He is not alleged to have used force in any fashion. He did not toss water bottles at

anyone. He did not wrest any police shields from officers. He did not use a weapon or deploy

irritants. When he allegedly entered the Capitol at 2:53 p.m., the proceedings had been suspended

for nearly 40 minutes. He did not force his way into the building. He entered at the same time as

hundreds or thousands of other Americans, none of whom have been charged with multiple felonies,

including seditious conspiracy. According to discovery produced by the government, at the time Mr.

Rehl entered the Capitol his ground had learned that the Vice President had left the Capitol. The

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           Buying a handful of radios for ease of communications and raising travel funds are not
illegal under any federal law.
express reason for entering the Capitol was to see what had taken place, not to force anyone to do

anything or to intimidate any one or obstruct any proceeding. No allegation in the Indictment

supports any contrary inference.

       Even the seditious conspiracy charges brought against a number of members of the Oath

Keepers were only brought against the members who are alleged to have brought firearms, including

in some instances AR-15 to a hotel in Northern Virginia allegedly for use as a “quick reaction force.”

See, e.g., United States v. Rhodes, No. 22-cr-15 (APM). In this case, there is no allegation that any

weapons or firearms were brought to DC by Mr. Rehl or any of the named codefendants.

        In sum, Mr. Rehl made a few isolated statements over a period of months about the political

events of the day, the type of speech which is at the heart of the protections afforded by the First

Amendment. Many of the alleged statements preceded the dates of the alleged conspiracy. None of

the statements presented a clear and present danger. More importantly, there is no allegation in the

Indictment that Mr. Rehl’s statements met the clear and present danger standard.

       The entirety of the allegations against Mr. Rehl involve statements made by him, none of

which created a clear and present danger as would be required to punish his statements. See, e.g.,

Hess v. Indiana, 414 U.S. 105 (1973) (reversing conviction of anti-war protester who was charged

with disorderly conduct for stating “We’ll take the fu**ng street later (or again),”); Brandenburg v.

Ohio, 395 U.S. 444 (1969) (state may not forbid speech advocating the use of force or unlawful

conduct unless this advocacy is directed to inciting or producing imminent lawless action and is

likely to incite or produce such action); Schenck v. United States, 249 U.S. 47 (1919).




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               The freedom of speech and of the press guaranteed by the
               Constitution embraces at the least the liberty to discuss publicly and
               truthfully all matters of public concern without previous restraint or
               fear of subsequent punishment.” The First Amendment “was fashioned
               to assure unfettered interchange of ideas for the bringing about of
               political and social changes desired by the people.”

Meyer v. Grant, 486 U.S. 414, 421 (1988) (internal citations omitted).

       Nothing that Mr. Rehl is alleged to have said or done even comes close to the clear and

present danger requirement. As Bradenburg held, two conditions must be met to impose criminal

liability for speech that incites others to illegal actions. First, the government must show that the

speech will produce imminent harm. Second, there must be a likelihood that the incited illegal action

will occur, and an intent by the speaker to cause imminent illegal actions. The Brandenburg

precedent remains the principal standard in this area of First Amendment law. Nothing Mr. Rehl is

alleged to have said even comes close to meeting the Brandenburg standard.

       WHEREFORE, Mr. Rehl respectfully requests that the Court dismiss the Indictment against

him on the grounds that the charges violate Mr. Rehl’s rights under the First Amendment and Due

Process Clause of the Constitution.

                                                      Respectfully submitted,

                                                      /s/
                                                      Carmen D. Hernandez
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                                                      Highland, MD 20777
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                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing was served via ECF on all counsel of
record this 19th day of August, 2022.


                                                /s/ Carmen D. Hernandez
                                                Carmen D. Hernandez




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